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                                      UNITED STATES DISTRICT COURT
                                       DISTRICT OF MASSACHUSETTS

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- - - - - - FREDRICKS,
ALISSA                                                       :

                              Plaintiff,                    :      Civil Action
                                                                   No. 19-10331-JGD
                    v.                                      :

MARKEL CATCO INVESTMENT                                     :
MANAGEMENT LTD. AND MARKEL
CORP.,                                                      :

                               Defendants.                   :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
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                                             NOTICE OF APPEARANCE

                    Please enter my appearance as counsel of record for Defendants Markel CATCo

Investment Management Ltd. and Markel Corporation in the above-captioned action. Pursuant

to Local Rule 83.5.2(b), James R. Carroll of Skadden, Arps, Slate, Meagher & Flom LLP is

authorized to receive all notices in this action.

                    Defendants do not waive, and expressly preserve, any and all defenses.

Dated: March 19, 2019                                           Respectfully submitted,
       Boston, Massachusetts
                                                                /s/ Christopher A. Lisy
                                                                Christopher A. Lisy (BBO #662283)
                                                                SKADDEN, ARPS, SLATE,
                                                                   MEAGHER & FLOM LLP
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                                                                Counsel for Defendants Markel CATCo Investment
                                                                Management Ltd. and Markel Corporation
